         Case 1:22-cv-11421-ADB Document 97 Filed 12/24/22 Page 1 of 11




                         UNITED STATES DISTRICT COURT
                                              for the
                                  District of Massachusetts

 JOSE MARIA DECASTRO, an individual                ) Case No. 1:22-cv-11421
                                                   )
 Plaintiff,                                        ) Leave to file granted 12/13/2022
                                                   )
 v.                                                )
                                                   )
 JOSHUA ABRAMS, an individual, et al.,             )
                                                   )
 Defendants.                                       )
 ____________________________________



 PLAINTIFF’S REPLY TO DEFENDANT PETER’S OPPOSITION TO MOTION FOR

                                           SANCTIONS


       Plaintiff Jose DeCastro (“Plaintiff’’ or “I”), offers the following reply to the opposition

memorandum from Defendant Katherine Peter’s (“Peter”) (ECF No. 71) of Plaintiff’s Motion for

Sanctions (ECF No. 61). Since I outlined the legal authority in my original motion, such

information is not repeated here, and I do not intend by its omission from discussion here, to

concede to any point previously raised related to contempt for violation of a court order.

However, Peter and her attorney of record have also participated in Rule 11 sanctionable activity

in their opposition brief.

                                 a. Rule 11 sanctionable activity

       Fed. R. Civ. P. 11(b)(1) says that when a party presents to the court a pleading, written

motion, or other paper that “it is not being presented for any improper purpose, such as to harass,

cause unnecessary delay, or needlessly increase the cost of litigation;”

       Although directed by this Court, to respond to my Motion for Contempt with a request for
         Case 1:22-cv-11421-ADB Document 97 Filed 12/24/22 Page 2 of 11




the shortening of time, “sooner rather than later”, Peter and her counsel responded exactly 14

days after my Motion for Contempt was filed, delaying this Court.

      Peter and her counsel also impeached themselves in the response, delaying justice for their

offenses.

      Peter and her counsel also attributed a quote to me, as a title in their pleading, not as

evidence, but only in a way to harass or prejudice the court. It was not properly introduced (no

one declared who or when the evidence was collected, who transcribed it, or the date of the video

that it was taken from), not accuratey transcribed, nor entered under the penalty of perjury as part

of a pleading. Peter allegedly quotes me in a YouTube video saying “I will break them

financially. They will have to hire a lawyer. I will file a motion after motion after and I’ll just

keep going legally after them until I break them, until they can’t afford to hire a lawyer anymore

so they run out of money. That’s what I’m gonna do, I’m gonna break them.” Not only is the

transcription not accurate, but the YouTube video is irrelevant to this case, and obviously. I did

previously warn Peter by email of the costs of litigation and damages for defamation, to have her

retract her defamatory video of me, as outlined with evidence in the preliminary injunction

request in ECF No. 59. She has admitted in her YouTube videos to spending over $52,000 in

legal fees to defend herself in this action, proving me right, and I’ve made no frivolous

pleadings, written motions, or other papers in this court proceeding. Instead, she, with her

counsel, has done it multiple times.


                   b. Allegations of Plaintiff filing court documents to harass


      Much of Peter’s opposition to my motion for contempt revolve around arguments that I

am filing court documents to harass her. Since my motion was for contempt related to this

Court’s orders against harassment outside of the courtroom, her arguments and irrelevant and


                                                   2
         Case 1:22-cv-11421-ADB Document 97 Filed 12/24/22 Page 3 of 11




incorrectly transcribed quotes about my exercising my right to seek judicial relief are simply

that, irrelevant, and should be stricken from her response. Additionally, this Court has ruled on

most of my “serial motions” without a response from the Defendants.


                                     c. Peter’s discord server


      Peter admits to operating a Discord server with 2,800 users, admits to having only recently

posted rules for the server, and proves that those rules aren’t being enforced. Peter admits to the

screenshots that I introduced as evidence as being made on her server, which violate the rules

that she posted. Peter has proven that the rules are posted simply as a facade. Peter makes

conclusory statements that she is not responsible for the actions of other users, but under the

doctrine of agency, which she is ignorant of, she is wholly responsible. Peter has admitted to

tracking me on the server “like a great white shark”, including the actions of her and her 2,800

trolls always tracking my physical location. I submitted as evidence, screenshots from messages

on her server, that obviously violate her recently posted rules, yet the behavior remains and is

used to target whoever Ms. Peter is currently interested in targeting. As evidence of the

misbehavior and her culpability, Peter has also recently, finally, “archived” the channel on her

Discord server designed specifically to track me, named “#chille-watch”. While I initially

appreciated Peter finally taking action, it was done for more nefarious purposes. That specific

Discord channel is no longer used to harass me and my associates, but the coordination of attacks

is still being made, apparently on a different platform. Videos made by Peter and her trolls

continue to often mention a wealth of common location and other data being collected and

shared on me and my associates, obviously on a new platform with a better kept secret location.


                             d. Allegations of Plaintiff doxing trolls



                                                 3
         Case 1:22-cv-11421-ADB Document 97 Filed 12/24/22 Page 4 of 11




       Peter says that she did not harass or “dox” [my associate] (i.e., publicly identify him by

name, address, and/or other personal information). Under her own definition, I have not doxed

Todd Lyons. I did not provide the address of any trolls. Even if I did, I don’t run a troll farm that

will then harass and vandalize that person’s property. I don’t run a troll farm that will result in

them, and their family and employer being harassed endlessly by telephone, email, online, and in

person. I am interested only in removing a troll’s veil of anonymity. For example, to let their

mother know of the illegal behavior that they are doing. This is not harassment and is actually

the natural consequences that we learn in elementary school that results from bad behavior, as

mentioned in this Court’s order at ECF No. 51. Additionally, Peter continues to allege that I’m

partaking in threats of public exposure in exchange for affidavits, which we know isn’t true, as

she can offer no evidence but as far as serial repetition of allegations to waste this court’s time,

this qualifies.

       Poking holes in the anonymity of online criminals is not the same as harassing members of

my legal team, who are doing nothing wrong. My legal team aren’t afraid that their mothers or

employers find out what they’re doing. They’re afraid of the telephone calls, emails, vandalism,

and other constant harassment to them, their families, and their employers that follows being

doxed by a troll farm.

                                 e. Harassment of my associates

       Peter says “Ms. Peter did publish a live stream video on November 12th, and in the

thumbnail for the video used an image of a man whose identity she did not know at the time.

Indeed, at the time Ms. Peter published the video, she understood only that this man had been

entering group conference calls within her Discord server to take clandestine recordings. She did

not know that this person was in any way affiliated with Mr. DeCastro.” Peter knows that she did




                                                  4
         Case 1:22-cv-11421-ADB Document 97 Filed 12/24/22 Page 5 of 11




not own the copyright to the image that she used. She admits to having done it to “give him a

little nod as a joke…”, a prank, as you will. Which may not rise to the legal definition of a series

of such offenses, but certainly was in violation of this Court’s orders against harassment,

especially given the language used at the hearing on October 24, 2022 (ECF No. 68) and all its

orders against harassment and inappropriate behavior (ECF Nos. 33, 43, and 51).

      Peter also has also perjured herself in making the above statement. When Adams collected

information from Peter’s Discord server, he used his real name, and posted in each channel on

the Discord server that he had just scraped the data, for use in this pending legal action on my

behalf. He also stayed to answer questions. In no way would that be considered clandestine, and

Adams made it clear that he was working for me. The trolls keep emailing Adams saying that I

doxed him when I put his email address in one of my filings. It wasn’t a secret that he was on my

team, as mentioned previously. Adams had also signed his name to several court documents for

me in other legal filings, that are public record. It's just that my putting Adams’s personal email

address in one of my filings that the trolls took notice and started harassing him. Peter is outright

lying when she says that she didn’t know who Adams was or that he was working for me until

my motion for contempt. Peter and her troll farm have had numerous discussions on every

member of my team prior to her direct harassment and the harassment of her troll farm of them.

      Since then, Adams has had threats not to participate in this action, along with threats

toward his young daughter. Adams has also clearly been doxed and has been told that he has

been “doxed hard” by members of the troll farm. Doxed hard to over 2,800 trolls. Adams will no

longer be participating because of these threats. Since this action has turned into a copyright one,

and Adams being a well-known expert for copyright claims, having his copyright research used

in many court cases and being written up in at least one law journal on copyright law, it is




                                                  5
        Case 1:22-cv-11421-ADB Document 97 Filed 12/24/22 Page 6 of 11




impossible for me to continue. Additionally, the evidence that he collected is no longer of value

without his testimony.

                                  f. Further contempt by Peter

      On December 14, 2022, Peter created a poll on her Discord server. The question in the

poll was “Should I do something dumb and self sabotaging on YouTube out of boredom and woe

and release a Chille video?” See Exhibit 1, which I collected from Peter’s Discord server on

December 21, 2022 and is a true and correct copy. Even though 176 trolls voted “No”, and only

59 trolls voted “Yes”, Peter did it anyway, in contempt of this court.

      On December 19, 2022, Peter released a YouTube video titled “Chille Decastro Films His

Own Arrest For Criminal Threats, Cyraxx and Chille Plot on Facebook Live”. See Exhibit 2,

which I collected on December 20, 2022 and the transcription is a true and correct copy.

Transcription of Peter in the video, below:

             2:48 – 4:43: I’m about to make a retarded decision, uh per usual. I, I got this video.
      Nobody else has it but me, and the person who sent it to me.
             And I found it fascinating. And we watched it together in discord. And I was like,
      should I show this, and I thought about it, but you, here's the thing.
             No matter what, I'm gonna get hit with bullshit litigation, because it is a clear abuse
      of process in my opinion at this point.
             So, I will have an announcement about the legal stuff at the end of the program, uh,
      but right now, I wanted to show you guys. This is actually fascinating shit.
             So, this is a charge from 2015 actually, that that Chille took it upon himself to film.
      Uh, he sent it to the organization photography is not a crime, PINAC, and um, they had
      less than complimentary things to say about him, the members that I spoke too over, uh
      that were associated with PINAC at the time. So they really weren't too impressed with
      this guy. This is the earliest sort of contact that I've been able to find of Chille DeCastro
      making any sort of uh even adjacent contact with the um auditing community, back in
      2015. So um, this is your constitutional law scholar, everybody. Uh, this is not a
      copyrighted video, which [inaudible]. There is no protections as far as that goes. I'm
      always going to be adding some commentary, and um, I'm not going to really narrate too
      much what happens in this video, because Chille is going to tell you in his own words,
      um, I’ll just you know, point out what I think is interesting.
             33:21 – 33:26: Hillsborough CopWatch says, "WE DONT [STOP]". We don't. We
      don't. Even during litigation.
             41:08: This is just beginning.



                                                 6
        Case 1:22-cv-11421-ADB Document 97 Filed 12/24/22 Page 7 of 11




      In the video, Peter also described me as a “fucking retard” that is smearing shit on the

wall, in reference to this law suit, which she has entered into because she admits that she doesn’t

like being told what to do, including by a court, but especially by men, due to her previous abuse.

      The video makes her contempt for this Court’s orders abundantly clear. Additionally, she

says that the video had no copyright. Showing her complete disregard for copyrights of others.

Since the video hadn’t previously been published, it was a clear violation of my copyright and

blatantly violating my copyright was further harassment and contempt of this court.

                 g. Peter as a serial harasser and victim blamer in contempt

      Peter appeared in a YouTube video by a journalist for “Turtleboy Sports” on December

16, 2022 where she was leaving her arraignment for continuing to troll one of her trolling

victims, in violation of a restraining order, saying “Get your little victim away from me!” See

Exhibit 3, which I collected on December 23,2022 and is a fair and accurate transcription. Under

Mass. Gen. Laws ch. 233, § 21, this Court should soon be able to consider Peter’s recent

conviction against her credibility, like it should already be considering Defendant Joshua

Abrams’s multiple felony convictions against his credibility. This evidence should also be

submitted toward her pattern of harassment, especially in contempt of a court.



                                         CONCLUSION

      For the foregoing reasons, Plaintiff requests that this Court:

   1. Enter an Order for a just cause hearing on why Defendant Peter should not be found in

       contempt of court;

   2. Enter an order for this action to be reset and heard in private;

   3. Enter an order for the jury that Plaintiff’s witness was tampered with and intimidated;



                                                 7
         Case 1:22-cv-11421-ADB Document 97 Filed 12/24/22 Page 8 of 11




   4. Any other just relief that this Court find appropriate;

   5. Enter an Order against Peter and her attorney of record for Rule 11 Sanctions



                                         DECLARATION

     I declare under penalty of perjury, that the foregoing is true and correct.



                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

     The court has waived this local rule for the remainder of this action.


Dated: December 23, 2022                           Respectfully submitted,

                                                   /s/ Jose DeCastro
                                                   Jose DeCastro
                                                   1258 Franklin St.
                                                   Santa Monica, CA 90404
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                                 CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.

                                                   /s/ Jose DeCastro




                                                  8
Case 1:22-cv-11421-ADB Document 97 Filed 12/24/22 Page 9 of 11




           EXHIBIT 1




                              9
Case 1:22-cv-11421-ADB Document 97 Filed 12/24/22 Page 10 of 11




            EXHIBIT 2




                              10
Case 1:22-cv-11421-ADB Document 97 Filed 12/24/22 Page 11 of 11




            EXHIBIT 3




                              11
